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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 19-CIV-60752-RAR

  BRENDA BELL, Individually and on Behalf
  of All Others Similarly Situated,

          Plaintiff,
  v.

  ROYAL SEAS CRUISES, INC.,

        Defendant.
  ______________________________________/

                       ORDER GRANTING STAY OF PRETRIAL DEADLINES

          THIS CAUSE comes before the Court on the parties’ Joint Motion to Temporarily Stay

       Proceedings and Abate Case Management Deadlines [ECF No. 23], filed on July 19, 2019.

       The Court having reviewed the Motion, and being otherwise duly advised in the premises, it is

          ORDERED and ADJUDGED as follows:

          1. The Motion is GRANTED.

          2. The case is temporarily stayed and all case management deadlines are abated, except

  with regard to Defendant’s pending Motion to Compel Arbitration and to Dismiss Plaintiff’s Class

  Action Complaint (“Defendant’s Motion”), until the Court issues an order on Defendant’s Motion.

          3. Within ten (10) days of the Court’s decision on Defendant’s Motion, the parties shall

  meet and confer and, within five (5) days of such conference, shall propose a revised scheduling

  order to the Court.

          4. The proposed revised scheduling order shall amend all the current deadlines by the

  amount of time that the stay is in place.

          DONE AND ORDERED in Fort Lauderdale, Florida, this 23rd day of July, 2019.




                                                          _________________________________
                                                          RODOLFO RUIZ
                                                          UNITED STATES DISTRICT JUDGE
  cc: Counsel of record
